     3:19-cr-30049-SEM-TSH # 12     Page 1 of 4                                      E-FILED
                                                     Monday, 16 December, 2019 03:17:41 PM
                                                                Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
          v.                              )       Case No. 19-cr-30049
                                          )
TYRONE MAXWELL,                           )       The Honorable
                                          )       Sue E. Myerscough,
                     Defendant.           )       United States
                                          )       District Judge, Presiding.

MOTION TO CONTINUE INITIAL PRETRIAL CONFERENCE AND
                 TRIAL SETTINGS

     NOW COMES Defendant, TYRONE MAXWELL, by and through

his attorney, Mark Kevin Wykoff, Sr. of the Wykoff Law Office, LLC,

and for his Motion to Continue Initial Pretrial Conference and Trial

Settings, states to this Honorable Court as follows, that:

     1.   An   Initial   Pretrial    Conference       in    this    cause      was

previously scheduled for December 20, 2019, at 10:00 a.m., before

the Honorable Magistrate Judge Tom Schanzle-Haskins.

     2.   The Jury Trial in this cause was previously scheduled for

January 7, 2020, at 9:00 a.m., before the Honorable Judge Sue E.

Myerscough.




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     3.       An initial tender of discovery has previously been

transmitted to counsel; however, Defendant and his counsel have

yet to fully review and analyze the discovery in this cause, due to

undersigned counsel’s participation in the jury trial of U.S. v.

Haywood, et al. – Case No. 18-cr-10036 – that commenced in

October and is still underway.

     4.       Defendant and his counsel are thus presently unable to

assess the strength of the Government’s case, nor make intelligent

decisions as to how to proceed going forward.

     5.       Defendant respectfully prays that this Honorable Court

continue the Initial Pretrial Conference and Jury Trial for an

approximate additional sixty (60) days, or to some future setting at

the Court’s convenience and discretion.

     6.       The Government has been consulted as to this Motion

and poses no objection to the relief requested herein.

     7.       Any and all delay shall be occasioned by the actions of

the Defendant.

     8.       Neither the rights of the Government, nor those of the

Defendant, will be jeopardized by the granting of the relief prayed

for herein.


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     9.   This Motion is not brought for the purposes of delay; the

ends of justice served by granting this continuance outweigh the

best interests of the Defendant and the public in a speedy trial. 18

U.S.C. §3161(h)(7)(A).

     WHEREFORE, Defendant, TYRONE MAXWELL, respectfully

prays that this Honorable Court, for all of the reasons set forth

herein, continue his Initial Pretrial Conference and Trial Settings,

and grant him any and all other relief as this Honorable Court

deems just and equitable.

                                  Respectfully Submitted,

                                  WYKOFF LAW OFFICE, LLC

                     By:          /s/ `tÜ~ ^xä|Ç jç~Éyy? fÜA
                                  Mark Kevin Wykoff, Sr.
                                  Reg. No. 6292093
                                  Attorney for Defendant
                                  Wykoff Law Office, LLC
                                  919 South Eighth Street
                                  Springfield, Illinois 62703
                                  Telephone: (217) 522-3319
                                  Fax: (217) 522-4147
                                  E-mail: Mark@WykoffLaw.com




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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

                    CERTIFICATE OF SERVICE

I hereby certify that on December 16, 2019, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

Mr. Matthew Z. Weir, Esq.
Assistant U.S. Attorney
U.S. Attorney’s Office
318 South Sixth Street
Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:

Mr. Tyrone Maxwell
c/o Sangamon County Jail
200 South Ninth Street
Springfield, IL 62701


                                  /s/ `tÜ~ ^xä|Ç jç~Éyy? fÜA
                                  Mark Kevin Wykoff, Sr.
                                  Reg. No. 6292093
                                  Attorney for Defendant
                                  Wykoff Law Office, LLC
                                  919 South Eighth Street
                                  Springfield, Illinois 62703
                                  Telephone: (217) 522-3319
                                  Fax: (217) 522-4147
                                  E-mail: Mark@WykoffLaw.com




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